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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 MOON FENTON, M.D.,                                 )
                                                    )
         Plaintiff,                                 )
                                                    )
 v.                                                 )    Case No. 2:21-cv-02790-SHL-tmp
                                                    )
 THE WEST CLINIC, PLLC, f/k/a THE                   )
 WEST CLINIC, PC, d/b/a WEST                        )
 CANCER CENTER; WEST DESOTO                         )
 PARTNERS, LLC; WEST UNION                          )
 PARTNERS, LLC; WEST WOLF RIVER                     )
 PARTNERS, L.P., f/k/a WEST WOLF                    )
 RIVER PARTNERS, LLC; WEST                          )
 CAPITAL, LLC; and WEST CLINIC                      )
 HOLDCO, PC;                                        )
                                                    )
         Defendants.                                )


          DEFENDANTS’ NOTICE OF INTENT TO REQUEST REDACTION OF
            TRANSCRIPTS AND REDACTION OR SEALING OF EXHIBITS


        Defendants hereby give notice that they intend to request redactions of the transcripts of

 the proceedings held on May 22 – 24, 2023. (See Doc. Nos. 87-89.) Defendants further give notice

 that they intend to request that certain exhibits containing Confidential Material and introduced in

 the nonjury trial of this matter be redacted or placed under seal pursuant to the Protective Order

 entered in this matter (Doc. No. 36). Defendants will file these intended requests on or before

 June 14, 2023.

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                                                    Respectfully submitted,

                                                    BLACK MCLAREN JONES RYLAND &
                                                      GRIFFEE, P.C.

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                                                    Attorneys for Defendants



                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 25th day of May, 2023, a true and correct copy of the above
 and foregoing document has been served via the Court’s ECF filing system on the following
 counsel of record:

          David A. Burkhalter II, Esq.                 Dan M. Norwood, Esq.
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                                                    s/ Amy Worrell Sterling




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